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APR 0 2 2019

THE"UNITED STATES I)ISTR`ICT COURT
AT Br.'JtMoHE

FOR THE DISTRICT OF MARYLAND cLEFtK. U.S.D:STF:\OT COURT
BY

D|STH|CT OF MAR¥LAND

DEPUTY

lN THE MATTER OF THE SEARCH:
1 9 " 0 9 1' 1 ADC
Storage Unit H1504 of Extra Space
Storage, 8000 Telegraph Road,

Unit H1504, Severn, Maryland 21144

AFFIDAVIT IN SUPPORT OF _SEARC'H AND SEIZURE WARRANT

l, James D. Norton, a Task Force Of"ficer with the Drug Enforcement Administration (the
“DEA”), being duly sworn, depose and state that:

l. Your Afiiant makes this Aftidavit in support of an application under Federal Rule
of Criminal Procedure 41 for a warrant, authorizing the search of Storage Unit H1504 of Extra
Space Storage, 8000 '.I`elegraph Road, Severn, Maryland 21 144, and rented by Lawrence Michael
Branch (“BRANCH”) (hereinafter referred to as the “STORAGE UNIT”), for the items specified
in Attachment B and the seizure of those items.

2. Your Affiant submits that probable cause exists to believe that (l) BRANCH is
engaging in drug trafficking activities in violation'of 21 U.S.C. §§ 841 (a)(l), 843(b), and 846; and

(2) the STORAGE UNIT contains fruits, evidence, and instrumentalities of drug trafficking

activities
Afi`la`nt’s Background
3. Your Affiant is an investigative or law enforcement officer of the United States

Within the meaning of 18 U.S.C. § 2510(7)-that is, an officer of the United States who is

empowered by law to conduct investigations of, and make arrests for, offenses enumerated in 18

U.s.c. § 2516.

4. Since November 2013, your Affiant has been a Task Force Officer with the DEA,

assigned to the DEA High Intensity Drug Trafflcking Areas Group 43. Your Afiiant also- works

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at the Calvert County (Maryland) Sheriff` s Office (“CCSO”) Drug Enforcement Unit (“DEU”)
for over ten years, rising to the level of Detective over five years ago.

5. As a DEA Task Force Officer, your Affiant has participated in numerous drug
investigations, Several of which were Organized Crime Drug Enforcement Task Force
investigations During these investigations, your Affiant has performed duties associated with
electronic surveillance including, but not limited to, serving as the lead case agent, monitoring
consensual telephone calls, conducting physical and pole camera surveillance, listened to
hundreds of court-authorized intercepted calls between individuals involved or suspected to be
involved in drug trafficking activities, reviewing court-authorized intercepted text messages,
interpreting the court-authorized intercepted calls and texts, and transcribing those calls. ln
addition,,your Affiant has worked directly with confidential Sources and informants to conduct
controlled drug purchases; has debriefed them; and has interviewed drug dealers and users about
their lifestyle, appearance, and habits. Moreover, your Affiant has applied for search warrants,
arrest warrants, and Title Ill wire intercepts; executed search warrants; and seized evidence
related to drug trafficking, including substantial quantities of narcotics and drug paraphernalia

6. As a Detective with the CCSO DEU, your Affiant has investigated narcotics
trafficking, firearms trafficking, and overdose related deaths. During those investigations, your
Affiant has served as an affiant of search warrants and for which their execution led to the seizure
of firearms, narcotics, drug paraphernalia, and documents relating to the distribution of narcotics
as well has arrested those who violated state gun and drug laws and the state of Maryland
successfully prosecuted=

7. Your Affiant also received specialized training in drug importation, manufacture,

concealment, and distribution; drug recognition and interdiction; crime scene investigations;

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evidence collection; gang investigations; interviews and interrogation; and cellular telephone
forensics and analysis Your Affiant earned an Associate in Arts in Criminal Justice from the
College of Southern Maryland in La Plata, Maryland.

8.l Based on your Affiant’s training, knowledge, and experience, your Affiant has
become familiar with the following: (l) the manner in which drug traffickers (a) transport, Store,
and distribute drugs as well as (b) collect, keep, and conceal the proceeds of their illegal activities;
and (2) the ways in which drug traffickers use cellular telephones cellular telephone technology,
coded communications or slang during conversations and other means to facilitate their illegal
activities and thwart law enforcement investigations

9. Specifically, based on your Affiant’s training, knowledge, and experience, your
Affiant learned that persons involved in illegal drug distribution commonly do the following:

a. ' Maintain a supply of illegal drugs, items used in the manufacturing,
packaging, and transportation of illegal drugs, packing materials scales,
other drug paraphernalia, and owe sheets in their residences storage units,
and vehicles \

b. Conceal contraband related to such illicit activities»-such as scales, razors,
packaging materials, cutting agents, cooking utensils, microwave ovens,
pots, dishes, and other containers_in locations where they can readily
access them, such as their residences, their vehicles, storage units, the
residences of their friends, family members, and associates or their drug
distribution locations, such as a stash house or a safe house.

c. Maintain keys to safe deposit box, books, records, receipts, notes, ledgers,
bank records, money orders, and other papers relating to the importation,
manufacture, transportation, ordering, sale, and distribution of illegal
controlled substances Dealers in illegal controlled substances maintain the
aforementioned enumerated items'where they have ready access to them,
such as in secured locations within their residence, storage units, the
residences of their friends, family members, and associates or their drug
distribution locations Moreover, drug traffickers commonly maintain such
items on cellular telephones, computers computer diskettes, optical disks,
thumb drives, laptop computers, personal tablets and other personal
electronic devices

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d.‘ Conceal in their vehicles their storage units their residences or the
residences of their friends family members and associates their drug
distribution locations or other places over which they maintain dominion
and control large quantities of United States currency, financial instruments
precious metals jewelry, and other items of value. The United States
currency are typically drug proceeds while drug traffickers typically use
such proceeds to purchase financial instruments precious metals jewelry,
and other items of value.

e. lndicia of occupancy, residency and/or ownership of the property to be
searched are often present in such property.

Basis of Information

10. The facts set forth in this Affidavit are based upon (a) your Affiant’s personal
knowledge; (b) review of evidence developed through surveillance and obtained from this
investigation; '(c) communications with others who have personal knowledge of the events and
circumstances described herein, as well as (e) information that your Affiant gained through
training and experience Because your Affiant submits this Affidavit for the limited purpose of
establishing probable cause for the requested complaint and warrants he has not included every
detail of this investigation. lnstead, your Affiant has included in this Affidavit only those facts
that are sufficient to support a probable cause finding for the issuance of the requested complaint
and warrants

Probable Cause

ll. ¢ln October 2017, the DEA and the CCSO DEU began investigating heroin
traffickers operating in the Anne Arundel County area. Among the targets of this investigation is
BRANCH.

12. The intercepted calls and texts occurring over the cellular telephone assigned call
number (410) 212-8980 with lnternational Mobile Subscriber ldentity (“IMSI”)

310120]53606409, subscribed to John Wright, the subscriber address of 2406 Autumn Harvest

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Court Odenton, Maryland 21113, and used by Watson Patrick BRUCE a/k/a Tree (“BRUCE”),

whose service provider is Sprint Corporation (“SPRINT”) (hereinafter referred to as “Target

Telephone 1”) and the cellular telephone number (443) 804-0072 With IMSI 310120227102162,

subscribed to no name listed, the subscriber address is not listed, and used by Larry Michael

BROWN (“BROWN”), whose service provider is SPRINT (hereinafter referred to as “Target
'l`elephone 2”) confirmed that BROWN supplies BRANCH with narcotics

13. Some of the pertinent intercepted conversations and the surveillance in support of

those conversations revealing that BROWN supplies BRANCH with narcotics are summarized

as follows:
a. On January 4, 2019, at approximately 6:09 p.m., BROWN, via Target
Telephone 2, placed an outgoing call to BRANCH, via BRANCH’s cell phone. Here is an

excerpt of their discussion;

BRANCH: Yo, BROWN: Yeah l just got your text, look you
know l normally go to the club on Fridays so. BRANCH: You
said what? BROWN: You know l normally go out to the club
on Fridays, l normally get to the club bout, bout 7. BRANCH:
So what time you leave then? BROWN: Where are you?
BRANCH: Man I’m in, yo I’m in Annapolis, l’m goin to pick
my kids up now, l need to pick my kids up and l need to pick
my uh girl up by 7:30, that’s why l said l’ll call you as soon
as this traffic die down. BROWN: Ok, l don’t get out there
until about ll. BRANCH: Ok. BROWN: Right. So l was
tryin, so like that’s why l was tryin to catch you early, you
know. BRANCH: l know, l know, l just had so much goin on,
l can explain it better to you face to face, but l had more than
what you think goin on this mornin. l didn’t get to lay down
til late and then had to get them to school, the fuckin car broke
so she had to take my car and all that. lt was just a fuckin
hassle man. BROWN: Right. BRANCH: l just had, l had the
worst fuckin momin ever and l ain’t even get all my sleep that
l needed so I’m out this mother fucker runnin around tired as
shit. BROWN: what if l met you at the Chick-Fil-A at 7, could
you do it then? BRANCH: Yeah l could prolly, yeah l could
make that, l make that. Alright l think l could make that.

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BROWN: Right, if l make it to your Chick-Fil-A at 7 then
that will give me a chance to make it to my club by 7:30.
BRANCH: Alright bet, say no more. lma try to make it there
by 7. BROWN: Ok, yeah try to make it there like uh, try to
make the Chick-Fil-A by 7 then We good. Ok? BRANCH:
Alright um, yeah whatever you could do that’d be great yo,
like uh. BROWN: Ok now whatever you Want. BRANCH:
Just so l ain’t gotta. BROWN: Whatever you got, just bring
that. BRANCH: I’m,'l told, l told you I’m, l’m, l’m at mix,
l’m in the um, I’m in the middle of you know what, so I didn’t
really have it tryin to pay'the bills and all that, that, that was
my reason for even sayin something from the beginning, but
uh. BROWN: Ok well if you got, well just bring something,
right. BRANCH: Yeah. BROWN: But it’s not a problem
because l can help you either way, ok? BRANCH: Alright bet.
Ima see what l can do. BROWN: Ok. Alright So like l’ll, l’ll
see you at your Chick-Fil-A at 7. BRANCH: Alright.
BROWN: Ok major.

'Based on investigators’ training, knowledge, and experience, they believe that, in vague, coded
l language, (l) BROWN and BRANCH arranged a meeting for BRANCH to purchase heroin from
BROWN; (2) BRANCH asked BROWN to provide him with heroin on consignment`when
BRANCH said “whatever you could do that’d be great yo;” (3) BROWN reassured BRANCH
that he was willing to provide BRANCH with heroin on consignment when he said “well just
bring something, right. it’s not a problem because l can help you either way;” and (4) BROWN
_ and BRANCH ultimately agreed to meet at a Chick-Fil-A. lndeed, investigators observed
BROWN arrive in BROWN’s Vehicle at the Chick-Fil-A located at 7831 Quarterlield Park Drive,
Severn, Maryland 21144 at approximately 7:01 p.m., and BRANCH park a 2019 black GMC
Terrain registered to I-Iertz Vehicles of Baltimore locatedat 7416 New Ridge Road Hanover,
Maryland 21076 (hereinafter referred to as “BRANCH’s rental car 1”) next to the 2011 silver
Honda Crosstour bearing Maryland license plate number 2CE5468 registered to BROWN
(“BR()WN’s Vehicle”) at approximately 7:10 p.rn. Shortly after, investigators observed

BRANCH go in and out of BRANCH’s rental car 1 and BROWN’s Vehicle.

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b. On February 28, 2019, at approximately 5:00 pm, BROWN, via Target

Telephone 2, placed an outgoing call to BRANCH, via BRANCH’s cell phone. Here is their
conversation'.

BRANCH: Hello. BROWN: Hey, what (UI).... BRANCH:

What’s up? What’s going on? How you doing? BROWN:

What are you asleep? BRANCH: Yeah, ready to get up and

get myself together. What’s going on? BROWN: Yeah, I

called you earlier. BRANCH: Man, l was asleep man.

BROWN: l seen that. BRANCH: Yeah, l was asleep, what’s

going on though? BROWN: Well, uh, you know, uh, so uh, l

got that Vodka for you. Like the Gray Goose. BRANCH: Oh

yeah. BROWN: Yeah. BRANCH: Alright (Ul). . ..are you off

tomorrow right? BROWN: Yeah. BRANCH: Alright, l, l’ll

give you a call tomorrow. BROWN: OK. BRANCH: l got

some shit, I got some shit to do this evening so l’ll give you a

call tomorrow. BROWN: OK. BRANCH: Alright. BROWN:

No problem. Later.
Based on investigators’ training, knowledge, and experience, they (l) know that the phrase “gray
goose” is street language for heroin; and (2) believe that in vague, coded language, BRANCH and
BROWN arrange a meeting during which BRANCH would purchase heroin from BROWN.

14. On March 14, 2019, Honorable Stephanie A. Gallagher signed, inter alia, the
Criminal Complaint and arrest warrant for BRANCH, charging him with conspiracy to distribute
and possess with the intent to distribute a controlled dangerous substance, in violation of 21 U.S.C.
846; possession with intent to distribute a controlled dangerous substance, in violation of 21 U.S.C.
84l(a)(1); and use of communication facilities to facilitate the commission of such offenses in
violation of2l U.S.C. 843(b).

15. On March 15, 2019, at approximately 8:20 a.m., investigators conducted
surveillance of 515 Kingdom Court, Odenton,' Maryland 21113, as fully described in Attachment
A-4 f“Target Location 4”) and observed Branch leave Target Location 4 in the 2019 silver

Chevrolet Equinox bearing Maryland license plate number 5DR6266 registered to Hertz Vehicles

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BWI, P.O. Box 8612, Baltimore, Maryland 21240 (“BRANCH’s rental car 2”). Law
enforcement in an unmarked vehicle followed BRANCH, who began driving BRANCH’s rental
car 2 at high speeds through back roads Shortly after, a patrol officer in an unmarked patrol
vehicle activated the emergency lights and attempted to make a stop BRANCH’s rental car 2,
but BRANCH continuing driving and tossed what appeared to be small baggies out of
BRANCH’s rental car 2’s window. BRANCH subsequently stopped BRANCH’s rental car 2,
but when the patrol officer exited the patrol officer’s vehicle, BRANCH resumed driving slowly
BRANCH’s rental car 2 and yelled that he was going to stop on main road. That patrol officer
then observed BRANCH dumping a white powdery substance out of BRANCH’s rental car 2’s
window, causing it to fall down onto the patrol officer’s vehicle and BRANCH’S rental car 2.

16. Law enforcement arrested BRANCH after he stopped at the intersection ofNaj oles
Road and Benfield Boulevard in Hanover, Maryland.

17. The officers searched BRANCH’s rental car 2, and they recovered a receipt for
payment on the STORAGE UNIT from the center console.. During this wiretap investigation,
investigators discovered that BRANCH rented the STORAGE UNIT.

18. Law enforcement field tested the white powdery substance that BRANCH dumped
out of the window, and it field tested positive for heroin.

Conclusion

19. Based on the information set forth in this Affidavit, your Affiant submits that
probable cause exists to believe that (l) BRANCH is engaging in drug trafficking activities in
violation of 21 U.S.C. §§ 84l(a)(1), 843(b), and 846; and (2) the STORAGE UNIT contains
fruits evidence, and instrumentalities of drug trafficking activities

20. Accordingly, your Affiant requests that this Court issue_a search and seizure

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warrant authorizing the search of the STORAGE UNIT, as fully described in Attachment A, for
the items listed in Attachment B, which constitute evidence, fruits and instrumentalities of drug
trafficking activities in violation of 21 U.S.C. §§ 84l(a)(l), 843(b), and 846, and the seizure of the '

items listed in Attachment B.

reade ~

.l ames D. Ndrton
Task Forcb/Officer
Drug Enforcement Administration '

Subscribed and sworn before me this fm of March, 2019.

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Honorable A av` oppert ite

United States Magistrate Judge

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Attachmel_lt A: tl_ie STORAGE UNIT
The property to be searched'is described as follows: Storage Unit H1504 of Extra Space

Storage, 8000 Telegraph Road, Severn, Maryland 21144, and rented by Lawrence Michael Branch

(“STORAGE UNIT”).

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Attachment B: [tems to be Sei_zed From the ST()RAGE UNIT
This warrant authorizes the search and seizure of all records and items relating to violations
of 21 U.S.C. §§ 841 (a)(l ), 843(b), 846, by Lawrence Michael Branch and his known and unknown
co-conspirators, including, but not limited to, the following:
l. Controlled substances

2. Drug paraphernalia, including, but not limited to, scales plastic bags drug
wrappers chemical test kits metal pressing devices used for compressing cocaine, heroin, and
other controlled substances `

3. Documents, books and papers reflecting names addresses and/or telephone
numbers of co-conspirators customers and suppliers

4. Photographs, in particular, photographs of co-conspirators controlled substances
sums of money, vehicles jewelry, and/or assets

5. Books records receipts notes ledgers diaries journals designated codes and
other papers relating to the purchase, importation, transportation, manufacture, sale, and
distribution of controlled substances

6. Currency, bank statements and records other financial statements money drafts
letters of credit, money orders and cashier checks passbooks, bank checks, credit card statements
employment or payment records loan applications and records real estate records real estate
rental agreements property deeds vehicle titles money wires and transfers stocks bonds
precious metals jewelry, and any other items evidencing the obtaining, secreting, transfer, and
concealment of assets and expenditure of money.

7. lndicia of occupancy and ownership of the STORAGE UNIT, including but not
limited to, correspondence and photographs

8. Safe deposit box keys safe deposit box documents storage unit documents safe
combinations storage unit keys records and agreements for payment, and other documents and
items evidencing the obtaining, secreting, holding, transfer, and/or concealment of controlled

substances

` 9. Cellular telephones pagers beepers or other electronic communications devices

10. Documents or other records relating to court proceedings involving other co-
conspirators including, but not limited to, charging documents and bail records

ll. Records of travel including, but not limited to, tickets boarding passes
transportation schedules passports visas notes motel and hotel receipts and other receipts related

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to travel.

13. Locked or closed containers boxes receptacles that contain any of the items listed
in Nos. l _ 12 of this attachment

14. Locked or unlocked safes boxes suitcases cabinets or other secure Storage
containers (and law enforcement officers may drill the same).

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (e.g., hard disks or other media that
can store data); any handmade fomi (e.g. , writing); any mechanical form (e.g., printing or typing);
and any photographic form (e.g., microfilm, microfiche, prints slides negatives videotapes
motion pictures or photocopies).

